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                                                         - 343 -
                               Nebraska Supreme Court Advance Sheets
                                        307 Nebraska Reports
                                 STATE EX REL. COUNSEL FOR DIS. v. WALDRON
                                              Cite as 307 Neb. 343



                       State of Nebraska ex rel. Counsel for Discipline
                          of the Nebraska Supreme Court, relator,
                              v. Nancy G. Waldron, respondent.
                                                    ___ N.W.2d ___

                                        Filed September 25, 2020.   No. S-20-556.

                    Original action. Judgment of disbarment.
                 Heavican, C.J., Miller-Lerman, Cassel, Stacy, Funke,
               Papik, and Freudenberg, JJ.
                    Per Curiam.
                                      INTRODUCTION
                  This case is before the court on the voluntary surrender of
               license filed by the respondent, Nancy G. Waldron, on August
               10, 2020. The court accepts the respondent’s voluntary surren-
               der of her license and enters a judgment of disbarment.
                                   STATEMENT OF FACTS
                  The respondent was admitted to the practice of law in the
               State of Nebraska on September 12, 1984. On August 10,
               2020, the respondent filed a voluntary surrender of her license
               to practice law, in which she stated that on July 31, 2018,
               she was charged in the county court for Fillmore County,
               Nebraska, with a Class IIA felony count of theft by unlaw-
               ful taking in violation of Neb. Rev. Stat. § 28-511 (Reissue
               2016). See Neb. Rev. Stat. § 28-518(1) (Reissue 2016). The
               respondent ultimately was convicted and sentenced by the
               district court to a 5-year term of probation and ordered to pay
               restitution of $56,913. The respondent stated that she freely
                             - 344 -
         Nebraska Supreme Court Advance Sheets
                  307 Nebraska Reports
          STATE EX REL. COUNSEL FOR DIS. v. WALDRON
                       Cite as 307 Neb. 343
and voluntarily surrenders her privilege to practice law in the
State of Nebraska; waives her right to notice, appearance, or
hearing prior to the entry of an order of disbarment; and con-
sents to the entry of an immediate order of disbarment.
                          ANALYSIS
   Neb. Ct. R. § 3-315 of the disciplinary rules provides in
pertinent part:
         (A) Once a Grievance, a Complaint, or a Formal
      Charge has been filed, suggested, or indicated against a
      member, the member may voluntarily surrender his or her
      license.
         (1) The voluntary surrender of license shall state in
      writing that the member knowingly admits or knowingly
      does not challenge or contest the truth of the suggested
      or indicated Grievance, Complaint, or Formal Charge and
      waives all proceedings against him or her in connection
      therewith.
Pursuant to § 3-315 of the disciplinary rules, we find that the
respondent has voluntarily surrendered her license to practice
law and, for purposes of her license to practice law, knowingly
does not challenge or contest the fact of her conviction refer-
enced above. Further, the respondent has waived all proceed-
ings against her in connection with the disciplinary proceeding.
We further find that the respondent has consented to the entry
of an order of disbarment.
                        CONCLUSION
   Upon due consideration, the court accepts the respondent’s
voluntary surrender of her license to practice law, finds that
the respondent should be disbarred, and hereby orders her
disbarred from the practice of law in the State of Nebraska,
effective immediately. The respondent shall forthwith comply
with all terms of Neb. Ct. R. § 3-316 (rev. 2014) of the disci-
plinary rules, and upon failure to do so, she shall be subject
to punishment for contempt of this court. Accordingly, the
respondent is directed to pay costs and expenses in accordance
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         Nebraska Supreme Court Advance Sheets
                  307 Nebraska Reports
          STATE EX REL. COUNSEL FOR DIS. v. WALDRON
                       Cite as 307 Neb. 343
with Neb. Rev. Stat. §§ 7-114 and 7-115 (Reissue 2012) and
Neb. Ct. R. §§ 3-310(P) (rev. 2019) and 3-323(B) of the disci-
plinary rules within 60 days after an order imposing costs and
expenses, if any, is entered by the court.
                                   Judgment of disbarment.
